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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                          CASE NUMBER:


TNG WORLDWIDE, INC.                                           2:19−cv−02802−RSWL−SS
                                          PLAINTIFF(S)

        v.
BEAUTICOM, INC.
                                                               NOTICE TO COUNSEL RE: COPYRIGHT,
                                                                    PATENT, AND TRADEMARK
                                       DEFENDANT(S).               REPORTING REQUIREMENTS




TO:       COUNSEL OF RECORD and PRO SE LITIGANTS:

Pursuant to Local Rule 3−1 of this court, in all cases where jurisdiction is invoked in whole or in part under 28 U.
S. C. Section 1338 (regarding patents, plant variety protection, copyrights and trademarks), counsel shall, at the
time of filing of the complaint, provide the Clerk with an original and two (2) copies of the required notice (AO
120) to the Patent and Trademark Office in patent, plant variety protection and trademark matters and / or an
original and two (2) copies of the required notice (AO 121) in copyright matters.

      Counsel: Please complete the necessary form and electronically file within ten (10) days.

Western Division
312 N. Spring Street, Rm. G−8
Los Angeles, CA 90012




                                                         Clerk, U.S. District Court

 April 15, 2019                                          By /s/ Jeannine Tillman
      Date                                                 Deputy Clerk


Note: Please refer to the Court's Internet website at www.cacd.uscourts.gov for local rules and applicable
forms.



  CV−31 (08/13)      NOTICE TO COUNSEL RE: COPYRIGHT, PATENT, AND TRADEMARK REPORTING REQUIREMENTS
